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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
                                       :
UNITED STATES OF AMERICA,              :                  20cr0377(DLC)
                                       :
               -v-                     :                       ORDER
                                       :
TODD McCLAIN,                          :
                                       :
                          Defendant.   :
                                       :
-------------------------------------- X

DENISE COTE, District Judge:

     Defendant Todd McClain, who is in custody, is represented

by appointed counsel Harvey Fishein, Esq.          On October 17, 2020,

Jeff Chabrowe, Esq. filed a notice of appearance on behalf of

the defendant.      It is hereby

     ORDERED that a telephone conference is scheduled for

October 20, 2020 at 3 p.m.        The parties shall use the following

dial-in credentials for the telephone conference:

     Dial-in:           888-363-4749
     Access code:       4324948

     IT IS FURTHER ORDERED that the parties shall use a landline

if one is available.


Dated:      New York, New York
            October 19, 2020


                                    __________________________________
                                               DENISE COTE
                                       United States District Judge
